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15
                      IN THE UNITED STATES DISTRICT COURT
16
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
17
                                 SOUTHERN DIVISION
18
      MASIMO CORPORATION,                    ) Case No. 8:20-cv-00048-JVS-JDE
19    a Delaware corporation; and            )
      CERCACOR LABORATORIES, INC.,           ) STATUS REPORT PURSUANT TO
20    a Delaware corporation                 ) THE COURT’S ORDER
                                             ) REGARDING APPLE’S
21                Plaintiffs,                ) OBJECTIONS TO SPECIAL
                                             ) MASTER ORDER NO. 8
22          v.                               )
                                             )
23    APPLE INC., a California corporation   )
                                             )
24                Defendant.                 )
                                             )
25                                           )
                                             )
26                                           )
                                             )
27                                           )
28
Case 8:20-cv-00048-JVS-JDE Document 741 Filed 05/25/22 Page 2 of 3 Page ID #:51529




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 1         Masimo provides this status report pursuant to the Court’s May 18, 2022 Order
 2   regarding Apple’s Objections to Special Master Order No. 8. Masimo ran a search on
 3   O’Reilly’s ESI for email communications with the FDA by searching for emails
 4   containing FDA and either “O’Reilly” or “OReilly” in the From, To, CC, or BCC fields.1
 5   That search resulted in 1,453 documents including families. Excluding documents that
 6   have already been produced, the search identified 1,261 documents. Masimo will review
 7   these documents for privilege and produce the non-privileged documents.
 8
 9                                               Respectfully submitted,
10                                           KNOBBE, MARTENS, OLSON & BEAR, LLP
11
12   Dated: May 25, 2022                     By: /s/ Stephen W. Larson
                                                  Joseph R. Re
13                                                Stephen C. Jensen
14                                                Benjamin A. Katzenellenbogen
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15                                                Stephen W. Larson
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16                                                Adam B. Powell
17                                                Daniel P. Hughes

18                                                Attorneys for Plaintiffs
                                                  MASIMO CORPORATION and
19                                                CERCACOR LABORATORIES, INC.
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     1
      Masimo performed a search that is broader than “fda.gov” because the FDA uses
28   domains other than “fda.gov,” such as “fda.hhs.gov.”
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